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               and its employees Officer Cladiu Murzea,
            10 Officer Daniel Anes, Officer Joseph Brooks and
               Officer Matthew Buehler
            11
            12                          UNITED STATES DISTRICT COURT
            13                        CENTRAL DISTRICT OF CALIFORNIA
            14
               MARY H. GARCIA, individually and as )        CASE NO. 5:18-cv-00839 SJO (ASx)
            15 successor-in-interest to Estate of Phillip
                                                   )
               Soto Garcia, Jr. (Deceased); ANGELO )        The Hon. S. James Otero
            16 GARCIA; PHILLIP J. GARCIA,          )        Courtroom 10C
                                                   )
            17              Plaintiffs,            )        Action Filed: April 23, 2018
                                                   )
            18        vs.                          )        ANSWER OF DEFENDANTS
                                                   )        CITY OF CATHEDRAL CITY
            19 COUNTY OF RIVERSIDE; STANLEY )               AND ITS EMPLOYEES OFFICER
               SNIFF, Sheriff of Riverside County; )        CLADIU MURZEA, OFFICER
            20 WILLIAM DI YORIO, Undersheriff;     )        DANIEL ANES, OFFICER JOSEPH
               JULIO IBARRA, Senior Safety         )        BROOKS AND OFFICER
            21 Coordinator for Riverside County;   )        MATTHEW BUEHLER TO
               JERRY GUTIERREZ, Corrections        )        PLAINTIFFS’ FIRST AMENDED
            22 Assistant Sheriff; DAVID KONDRIT,   )        COMPLAINT
               Captain; SERGEANT MAGANA,           )
            23 Corectional Sergeant; CITY OF       )
               CATHEDRAL CITY; Officer CLADIU )
            24 MURZEA; Officer DANIEL ANES;        )
               Officer JOSEPH BROOKS; Officer      )
            25 MATTHEW BUEHLER; and DOES 1- )
               100,                                )
            26                                     )
                            Defendants.            )
            27                                     )
            28
LAW OFFICES OF
 POLLAK, VIDA
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             1         TO THE ABOVE-ENTITLED COURT AND TO ALL PARTIES AND TO
             2 THEIR ATTORNEYS OF RECORD:
             3
             4         COMES NOW, DEFENDANTS the City of Cathedral City and its
             5 Employees Officer Cladiu Murzea, Officer Daniel Anes, Officer Joseph Brooks and
             6 Officer Matthew Buehler , answering Plaintiffs’ First Amended Complaint for
             7 Damages for themselves and for no other parties in this action. These Defendants
             8 hereby admit, deny, and allege as follows:
             9
            10                                         PREFACE
            11
            12         On July 18, 2018, the Court dismissed the Eighth Claim in the First Amended
            13 Complaint (Monell liability) as against Defendant City of Cathedral City in
            14 response to the parties’ stipulation. (ECF No. 41.) On August 13, 2018, the Court
            15 declined supplemental jurisdiction over the Plaintiffs’ state law claims, Claims
            16 Eleven through Fourteen. (ECF Nos. 57, 60.) On August 29, 2018, the Court
            17 granted the Motion to Dismiss filed by the City and its officers, and dismissed
            18 Claims One, Two, Three, and Fifteen as to those defendants. Claims One through
            19 Three were dismissed with leave to amend. (ECF No. 60.) Plaintiffs’ deadline to
            20 file an amended complaint was September 10, 2018. (ECF No. 60, p. 17.)
            21 Plaintiffs did not file an amended complaint. The City defendants therefore answer
            22 the First Amended Complaint as follows.
            23
            24                              PRELIMINARY STATEMENT
            25
            26         1.     Answering paragraph 1, Defendants deny the allegations.
            27
            28         2.     Answering paragraph 2, Defendants deny the allegations.
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 POLLAK, VIDA                                               -2-
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             1                                       JURISDICTION
             2
             3         3.     Answering paragraph 3, Defendants admit that this Court has
             4 jurisdiction over the federal claims in this matter.
             5
             6                                            VENUE
             7
             8         4.     Answering paragraph 4, Defendants admit that this Court is the proper
             9 venue for this matter.
            10
            11                                 CLAIMS REQUIREMENT
            12
            13         5.     Answering paragraph 5, Defendants admit that Plaintiffs filed a tort
            14 claim with the City of Cathedral City. As to the remaining factual allegations,
            15 Defendants lack sufficient information and belief upon which to answer them, and
            16 on that basis deny the allegations.
            17
            18                    SUCCESSOR-IN-INTEREST AFFIDAVIT FILED
            19
            20         6.     Answering paragraph 6, Defendants lack sufficient information and
            21 belief upon which to answer the factual allegations contained therein, and on that
            22 basis deny the allegations.
            23
            24         7.     Answering paragraph 7, Defendants lack sufficient information and
            25 belief upon which to answer the factual allegations contained therein, and on that
            26 basis deny the allegations.
            27 ///
            28 ///
LAW OFFICES OF
 POLLAK, VIDA                                               -3-
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             1                                         PARTIES
             2
             3         8.     Answering paragraph 8, Defendants lack sufficient information and
             4 belief upon which to answer the factual allegations contained therein, and on that
             5 basis deny the allegations.
             6
             7         9.     Answering paragraph 9, Defendants lack sufficient information and
             8 belief upon which to answer the factual allegations contained therein, and on that
             9 basis deny the allegations.
            10
            11
            12         10.    Answering paragraph 10, Defendants lack sufficient information and
            13 belief upon which to answer the factual allegations contained therein, and on that
            14 basis deny the allegations.
            15
            16         11.    Answering paragraph 11, Defendants lack sufficient information and
            17 belief upon which to answer the factual allegations contained therein, and on that
            18 basis deny the allegations.
            19
            20         12.    Answering paragraph 12, Defendants admit that the County of
            21 Riverside is a governmental entity. As to the remaining factual allegations,
            22 Defendants lack sufficient information and belief upon which to answer them, and
            23 on that basis deny the allegations.
            24
            25         13.    Answering paragraph 13, Admit.
            26
            27
            28
LAW OFFICES OF
 POLLAK, VIDA                                              -4-
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             1         14.    Answering paragraph 14, Defendants lack sufficient information and
             2 belief upon which to answer the factual allegations contained therein, and on that
             3 basis deny the allegations.
             4
             5         15.    Answering paragraph 15, Defendants lack sufficient information and
             6 belief upon which to answer the factual allegations contained therein, and on that
             7 basis deny the allegations.
             8
             9         16.    Answering paragraph 16, Defendants lack sufficient information and
            10 belief upon which to answer the factual allegations contained therein, and on that
            11 basis deny the allegations.
            12
            13         17.    Answering paragraph 17, Defendants lack sufficient information and
            14 belief upon which to answer the factual allegations contained therein, and on that
            15 basis deny the allegations.
            16
            17         18.    Answering paragraph 18, Defendants lack sufficient information and
            18 belief upon which to answer the factual allegations contained therein, and on that
            19 basis deny the allegations.
            20
            21         19.    Answering paragraph 19, Defendants lack sufficient information and
            22 belief upon which to answer the factual allegations contained therein, and on that
            23 basis deny the allegations.
            24
            25         20.    Answering paragraph 20, Defendants lack sufficient information and
            26 belief upon which to answer the factual allegations contained therein, and on that
            27 basis deny the allegations.
            28
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             1         21.    Answering paragraph 21, Defendants lack sufficient information and
             2 belief upon which to answer the factual allegations contained therein, and on that
             3 basis deny the allegations.
             4
             5         22.    Answering paragraph 22, Defendants lack sufficient information and
             6 belief upon which to answer the factual allegations contained therein, and on that
             7 basis deny the allegations.
             8
             9         23.    Answering paragraph 23, Defendants lack sufficient information and
            10 belief upon which to answer the factual allegations contained therein, and on that
            11 basis deny the allegations.
            12
            13         24.    Answering paragraph 24, Defendants lack sufficient information and
            14 belief upon which to answer the factual allegations contained therein, and on that
            15 basis deny the allegations.
            16
            17         25.    Answering paragraph 25, Defendants lack sufficient information and
            18 belief upon which to answer the factual allegations contained therein, and on that
            19 basis deny the allegations.
            20
            21         26.    Answering paragraph 26, Defendants lack sufficient information and
            22 belief upon which to answer the factual allegations contained therein, and on that
            23 basis deny the allegations.
            24
            25         27.    Answering paragraph 27, Defendants lack sufficient information and
            26 belief upon which to answer the factual allegations contained therein, and on that
            27 basis deny the allegations.
            28
LAW OFFICES OF
 POLLAK, VIDA                                              -6-
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             1         28.    Answering paragraph 28, Defendants lack sufficient information and
             2 belief upon which to answer the factual allegations contained therein, and on that
             3 basis deny the allegations.
             4
             5         29.    Answering paragraph 29, Defendants lack sufficient information and
             6 belief upon which to answer the factual allegations contained therein, and on that
             7 basis deny the allegations.
             8
             9         30.    Answering paragraph 30, Defendants lack sufficient information and
            10 belief upon which to answer the factual allegations contained therein, and on that
            11 basis deny the allegations.
            12
            13         31.    Answering paragraph 31, Defendants lack sufficient information and
            14 belief upon which to answer the factual allegations contained therein, and on that
            15 basis deny the allegations.
            16
            17         32.    Answering paragraph 32, Defendants lack sufficient information and
            18 belief upon which to answer the factual allegations contained therein, and on that
            19 basis deny the allegations.
            20
            21         33.    Answering paragraph 33, Defendants lack sufficient information and
            22 belief upon which to answer the factual allegations contained therein, and on that
            23 basis deny the allegations.
            24
            25         34.    Answering paragraph 34, Defendants lack sufficient information and
            26 belief upon which to answer the factual allegations contained therein, and on that
            27 basis deny the allegations.
            28
LAW OFFICES OF
 POLLAK, VIDA                                              -7-
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             1         35.    Answering paragraph 35, Defendants lack sufficient information and
             2 belief upon which to answer the factual allegations contained therein, and on that
             3 basis deny the allegations.
             4
             5         36.    Answering paragraph 36, Defendants lack sufficient information and
             6 belief upon which to answer the factual allegations contained therein, and on that
             7 basis deny the allegations.
             8
             9         37.    Answering paragraph 37, Defendants lack sufficient information and
            10 belief upon which to answer the factual allegations contained therein, and on that
            11 basis deny the allegations.
            12
            13         38.    Answering paragraph 38, Defendants admit that the City of Cathedral
            14 City employed an Officer Claudiu Murzea at the time of the alleged incident. As to
            15 the remaining factual allegations, Defendants lack sufficient information and belief
            16 upon which to answer them, and on that basis deny the allegations.
            17
            18         39.    Answering paragraph 39, Defendants admit that the City of Cathedral
            19 City employed an Officer Daniel Anes at the time of the alleged incident. As to the
            20 remaining factual allegations, Defendants lack sufficient information and belief
            21 upon which to answer them, and on that basis deny the allegations.
            22
            23         40.    Answering paragraph 40, Defendants admit that the City of Cathedral
            24 City employed an Officer Joseph Brooks at the time of the alleged incident. As to
            25 the remaining factual allegations, Defendants lack sufficient information and belief
            26 upon which to answer them, and on that basis deny the allegations.
            27
            28
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 POLLAK, VIDA                                              -8-
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             1         41.    Answering paragraph 41, Defendants admit that the City of Cathedral
             2 City employed an Officer Matthew Buehler at the time of the alleged incident. As
             3 to the remaining factual allegations, Defendants lack sufficient information and
             4 belief upon which to answer them, and on that basis deny the allegations.
             5
             6         42.    Answering paragraph 42, Defendants lack sufficient information and
             7 belief upon which to answer the factual allegations contained therein, and on that
             8 basis deny the allegations.
             9
            10         43.    Answering paragraph 43, Defendants lack sufficient information and
            11 belief upon which to answer the factual allegations contained therein, and on that
            12 basis deny the allegations.
            13
            14         44.    Answering paragraph 44, Defendants lack sufficient information and
            15 belief upon which to answer the factual allegations contained therein, and on that
            16 basis deny the allegations.
            17
            18         45.    Answering paragraph 45, Defendants lack sufficient information and
            19 belief upon which to answer the factual allegations contained therein, and on that
            20 basis deny the allegations.
            21
            22                                STATEMENT OF FACTS
            23
            24         46.    Answering paragraph 46, which incorporates by reference the
            25 allegations in the previous paragraphs of the Complaint, Defendants to the same
            26 extent incorporate by reference the answers provided herein to those paragraphs.
            27
            28
LAW OFFICES OF
 POLLAK, VIDA                                              -9-
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             1         47.    Answering paragraph 47, Defendants lack sufficient information and
             2 belief upon which to answer the factual allegations contained therein, and on that
             3 basis deny the allegations.
             4
             5         48.    Answering paragraph 48, Defendants lack sufficient information and
             6 belief upon which to answer the factual allegations contained therein, and on that
             7 basis deny the allegations.
             8
             9         49.    Answering paragraph 49, Defendants lack sufficient information and
            10 belief upon which to answer the factual allegations contained therein, and on that
            11 basis deny the allegations.
            12
            13         50.    Answering paragraph 50, Defendants lack sufficient information and
            14 belief upon which to answer the factual allegations contained therein, and on that
            15 basis deny the allegations.
            16
            17         51.    Answering paragraph 51, Defendants lack sufficient information and
            18 belief upon which to answer the factual allegations contained therein, and on that
            19 basis deny the allegations.
            20
            21         52.    Answering paragraph 52, Defendants lack sufficient information and
            22 belief upon which to answer the factual allegations contained therein, and on that
            23 basis deny the allegations.
            24
            25         53.    Answering paragraph 53, Defendants lack sufficient information and
            26 belief upon which to answer the factual allegations contained therein, and on that
            27 basis deny the allegations.
            28
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 POLLAK, VIDA                                             -10-
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             1         54.    Answering paragraph 54, Defendants lack sufficient information and
             2 belief upon which to answer the factual allegations contained therein, and on that
             3 basis deny the allegations.
             4
             5         55.    Answering paragraph 55, Defendants lack sufficient information and
             6 belief upon which to answer the factual allegations contained therein, and on that
             7 basis deny the allegations.
             8
             9         56.    Answering paragraph 56, Defendants lack sufficient information and
            10 belief upon which to answer the factual allegations contained therein, and on that
            11 basis deny the allegations.
            12
            13         57.    Answering paragraph 57, Defendants lack sufficient information and
            14 belief upon which to answer the factual allegations contained therein, and on that
            15 basis deny the allegations.
            16
            17         58.    Answering paragraph 58, Defendants lack sufficient information and
            18 belief upon which to answer the factual allegations contained therein, and on that
            19 basis deny the allegations.
            20
            21         59.    Answering paragraph 59, Defendants lack sufficient information and
            22 belief upon which to answer the factual allegations contained therein, and on that
            23 basis deny the allegations.
            24
            25         60.    Answering paragraph 60, Defendants lack sufficient information and
            26 belief upon which to answer the factual allegations contained therein, and on that
            27 basis deny the allegations.
            28
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 POLLAK, VIDA                                             -11-
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             1         61.    Answering paragraph 61, Defendants lack sufficient information and
             2 belief upon which to answer the factual allegations contained therein, and on that
             3 basis deny the allegations.
             4
             5         62.    Answering paragraph 62, Defendants lack sufficient information and
             6 belief upon which to answer the factual allegations contained therein, and on that
             7 basis deny the allegations.
             8
             9         63.    Answering paragraph 63, Defendants lack sufficient information and
            10 belief upon which to answer the factual allegations contained therein, and on that
            11 basis deny the allegations.
            12
            13         64.    Answering paragraph 64, Defendants lack sufficient information and
            14 belief upon which to answer the factual allegations contained therein, and on that
            15 basis deny the allegations.
            16
            17         65.    Answering paragraph 65, Defendants lack sufficient information and
            18 belief upon which to answer the factual allegations contained therein, and on that
            19 basis deny the allegations.
            20
            21         66.    Answering paragraph 66, Defendants lack sufficient information and
            22 belief upon which to answer the factual allegations contained therein, and on that
            23 basis deny the allegations.
            24
            25         67.    Answering paragraph 67, Defendants lack sufficient information and
            26 belief upon which to answer the factual allegations contained therein, and on that
            27 basis deny the allegations.
            28
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 POLLAK, VIDA                                             -12-
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             1         68.    Answering paragraph 68, Defendants lack sufficient information and
             2 belief upon which to answer the factual allegations contained therein, and on that
             3 basis deny the allegations.
             4
             5         69.    Answering paragraph 69, Defendants lack sufficient information and
             6 belief upon which to answer the factual allegations contained therein, and on that
             7 basis deny the allegations.
             8
             9         70.    Answering paragraph 70, Defendants lack sufficient information and
            10 belief upon which to answer the factual allegations contained therein, and on that
            11 basis deny the allegations.
            12
            13         71.    Answering paragraph 71, Defendants lack sufficient information and
            14 belief upon which to answer the factual allegations contained therein, and on that
            15 basis deny the allegations.
            16
            17         72.    Answering paragraph 72, Defendants lack sufficient information and
            18 belief upon which to answer the factual allegations contained therein, and on that
            19 basis deny the allegations.
            20
            21         73.    Answering paragraph 73, Defendants lack sufficient information and
            22 belief upon which to answer the factual allegations contained therein, and on that
            23 basis deny the allegations.
            24
            25         74.    Answering paragraph 74, Defendants lack sufficient information and
            26 belief upon which to answer the factual allegations contained therein, and on that
            27 basis deny the allegations.
            28
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 POLLAK, VIDA                                             -13-
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             1         75.    Answering paragraph 75, Defendants lack sufficient information and
             2 belief upon which to answer the factual allegations contained therein, and on that
             3 basis deny the allegations.
             4
             5         76.    Answering paragraph 76, Defendants lack sufficient information and
             6 belief upon which to answer the factual allegations contained therein, and on that
             7 basis deny the allegations.
             8
             9         77.    Answering paragraph 77, Defendants lack sufficient information and
            10 belief upon which to answer the factual allegations contained therein, and on that
            11 basis deny the allegations.
            12
            13         78.    Answering paragraph 78, Defendants lack sufficient information and
            14 belief upon which to answer the factual allegations contained therein, and on that
            15 basis deny the allegations.
            16
            17         79.    Answering paragraph 79, Defendants lack sufficient information and
            18 belief upon which to answer the factual allegations contained therein, and on that
            19 basis deny the allegations.
            20
            21         80.    Answering paragraph 80, Defendants lack sufficient information and
            22 belief upon which to answer the factual allegations contained therein, and on that
            23 basis deny the allegations.
            24
            25         81.    Answering paragraph 81, Defendants lack sufficient information and
            26 belief upon which to answer the factual allegations contained therein, and on that
            27 basis deny the allegations.
            28
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 POLLAK, VIDA                                             -14-
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             1         82.    Answering paragraph 82, Defendants lack sufficient information and
             2 belief upon which to answer the factual allegations contained therein, and on that
             3 basis deny the allegations.
             4
             5         83.    Answering paragraph 83, Defendants lack sufficient information and
             6 belief upon which to answer the factual allegations contained therein, and on that
             7 basis deny the allegations.
             8
             9         84.    Answering paragraph 84, Defendants lack sufficient information and
            10 belief upon which to answer the factual allegations contained therein, and on that
            11 basis deny the allegations.
            12
            13         85.    Answering paragraph 85, Defendants lack sufficient information and
            14 belief upon which to answer the factual allegations contained therein, and on that
            15 basis deny the allegations.
            16
            17         86.    Answering paragraph 86, Defendants lack sufficient information and
            18 belief upon which to answer the factual allegations contained therein, and on that
            19 basis deny the allegations.
            20
            21                a.     Answering paragraph 86(a), Defendants lack sufficient
            22 information and belief upon which to answer the factual allegations contained
            23 therein, and on that basis deny the allegations.
            24
            25                b.     Answering paragraph 86(b), Defendants lack sufficient
            26 information and belief upon which to answer the factual allegations contained
            27 therein, and on that basis deny the allegations.
            28
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 POLLAK, VIDA                                              -15-
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             1                c.     Answering paragraph 86(c), Defendants lack sufficient
             2 information and belief upon which to answer the factual allegations contained
             3 therein, and on that basis deny the allegations.
             4
             5                d.     Answering paragraph 86(d), Defendants lack sufficient
             6 information and belief upon which to answer the factual allegations contained
             7 therein, and on that basis deny the allegations.
             8
             9                e.     Answering paragraph 86(e), Defendants lack sufficient
            10 information and belief upon which to answer the factual allegations contained
            11 therein, and on that basis deny the allegations.
            12
            13                f.     Answering paragraph 86(f), Defendants lack sufficient
            14 information and belief upon which to answer the factual allegations contained
            15 therein, and on that basis deny the allegations.
            16
            17         87.    Answering paragraph 87, Defendants lack sufficient information and
            18 belief upon which to answer the factual allegations contained therein, and on that
            19 basis deny the allegations.
            20
            21         88.    Answering paragraph 88, Defendants lack sufficient information and
            22 belief upon which to answer the factual allegations contained therein, and on that
            23 basis deny the allegations.
            24
            25         89.    Answering paragraph 89, Defendants lack sufficient information and
            26 belief upon which to answer the factual allegations contained therein, and on that
            27 basis deny the allegations.
            28
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 POLLAK, VIDA                                              -16-
   & BARER
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             1         90.    Answering paragraph 90, Defendants lack sufficient information and
             2 belief upon which to answer the factual allegations contained therein, and on that
             3 basis deny the allegations.
             4
             5         91.    Answering paragraph 91, Defendants lack sufficient information and
             6 belief upon which to answer the factual allegations contained therein, and on that
             7 basis deny the allegations.
             8
             9         92.    Answering paragraph 92, Defendants lack sufficient information and
            10 belief upon which to answer the factual allegations contained therein, and on that
            11 basis deny the allegations.
            12
            13         93.    Answering paragraph 93, Defendants lack sufficient information and
            14 belief upon which to answer the factual allegations contained therein, and on that
            15 basis deny the allegations.
            16
            17         94.    Answering paragraph 94, Defendants lack sufficient information and
            18 belief upon which to answer the factual allegations contained therein, and on that
            19 basis deny the allegations.
            20
            21         95.    Answering paragraph 95, Defendants lack sufficient information and
            22 belief upon which to answer the factual allegations contained therein, and on that
            23 basis deny the allegations.
            24
            25         96.    Answering paragraph 96, Defendants lack sufficient information and
            26 belief upon which to answer the factual allegations contained therein, and on that
            27 basis deny the allegations.
            28
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 POLLAK, VIDA                                             -17-
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             1         Allegations re Patterns & Practices
             2         97.    Answering paragraph 97, Defendants lack sufficient information and
             3 belief upon which to answer the factual allegations contained therein, and on that
             4 basis deny the allegations.
             5
             6                a.     Answering paragraph 97(a), Defendants lack sufficient
             7 information and belief upon which to answer the factual allegations contained
             8 therein, and on that basis deny the allegations.
             9
            10                b.     Answering this paragraph 97(b), Defendants lack sufficient
            11 information and belief upon which to answer the factual allegations contained
            12 therein, and on that basis deny the allegations.
            13
            14                c.     Answering this paragraph 97(c), Defendants lack sufficient
            15 information and belief upon which to answer the factual allegations contained
            16 therein, and on that basis deny the allegations.
            17
            18                d.     Answering this paragraph 97(d), Defendants lack sufficient
            19 information and belief upon which to answer the factual allegations contained
            20 therein, and on that basis deny the allegations.
            21
            22                e.     Answering this paragraph 97(e), Defendants lack sufficient
            23 information and belief upon which to answer the factual allegations contained
            24 therein, and on that basis deny the allegations.
            25
            26                f.     Answering this paragraph 97(f), Defendants lack sufficient
            27 information and belief upon which to answer the factual allegations contained
            28 therein, and on that basis deny the allegations.
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 POLLAK, VIDA                                                -18-
   & BARER
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             1                g.    Answering this paragraph 97(g), Defendants lack sufficient
             2 information and belief upon which to answer the factual allegations contained
             3 therein, and on that basis deny the allegations.
             4
             5                h.    Answering this paragraph 97(h), Defendants lack sufficient
             6 information and belief upon which to answer the factual allegations contained
             7 therein, and on that basis deny the allegations.
             8
             9         98.    Answering paragraph 98, Defendants lack sufficient information and
            10 belief upon which to answer the factual allegations contained therein, and on that
            11 basis deny the allegations.
            12
            13         99.    Answering paragraph 99, Defendants lack sufficient information and
            14 belief upon which to answer the factual allegations contained therein, and on that
            15 basis deny the allegations.
            16
            17         100. Answering paragraph 100, Defendants lack sufficient information and
            18 belief upon which to answer the factual allegations contained therein, and on that
            19 basis deny the allegations.
            20
            21         101. Answering paragraph 101, Defendants lack sufficient information and
            22 belief upon which to answer the factual allegations contained therein, and on that
            23 basis deny the allegations.
            24
            25         102. Answering paragraph 102, Defendants lack sufficient information and
            26 belief upon which to answer the factual allegations contained therein, and on that
            27 basis deny the allegations.
            28
LAW OFFICES OF
 POLLAK, VIDA                                              -19-
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             1         103. Answering paragraph103, Defendants lack sufficient information and
             2 belief upon which to answer the factual allegations contained therein, and on that
             3 basis deny the allegations.
             4
             5         104. Answering paragraph 104, Defendants lack sufficient information and
             6 belief upon which to answer the factual allegations contained therein, and on that
             7 basis deny the allegations.
             8
             9         105. Answering paragraph 105, Defendants lack sufficient information and
            10 belief upon which to answer the factual allegations contained therein, and on that
            11 basis deny the allegations.
            12
            13         106. Answering paragraph 106, Defendants lack sufficient information and
            14 belief upon which to answer the factual allegations contained therein, and on that
            15 basis deny the allegations.
            16
            17         107. Answering paragraph 107, Defendants lack sufficient information and
            18 belief upon which to answer the factual allegations contained therein, and on that
            19 basis deny the allegations.
            20
            21         108. Answering paragraph 108, Defendants lack sufficient information and
            22 belief upon which to answer the factual allegations contained therein, and on that
            23 basis deny the allegations.
            24
            25                a.     Answering paragraph 108(a), Defendants lack sufficient
            26 information and belief upon which to answer the factual allegations contained
            27 therein, and on that basis deny the allegations.
            28
LAW OFFICES OF
 POLLAK, VIDA                                              -20-
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             1                b.      Answering paragraph 108(b), Defendants lack sufficient
             2 information and belief upon which to answer the factual allegations contained
             3 therein, and on that basis deny the allegations.
             4
             5
             6                                         First Claim
             7                               Violation of 42 U.S.C. §1983
             8         Deliberate Indifference to Serious Medical Needs By Plaintiff
             9         Mary Garcia as Successor-In-Interest to the Estate of Phillip Soto
            10         Garcia, Jr. Against Defendants Pearson, Cordero, Llanos, Hinson,
            11         Bergert, Caverley, Rodarte-Lugo, Miranda, Figueroa, Lopez,
            12         Varoni, Tarango, Kramer, Maldonado, Steele, Tesillo, Ayala and
            13         Does 1 to 50; and Defendants Murzea, Anes, Brooks, Buehler and
            14         City employees DOES 51 to 80
            15
            16         109. Answering paragraphs 109-126 of the First Claim which the Court has
            17 dismissed, Defendants deny these allegations.
            18
            19                                        Second Claim
            20                     (Wrongful Death – Cruel and Unusual Punishment)
            21                                      42 U.S.C. § 1983
            22         By Plaintiff Mary Garcia, as Successor-In-Interest to the Estate of
            23         Phillip Soto Garcia, Jr. Against County Defendants Pearson,
            24         Cordero, Llanos, Hinson, Bergert, Caverley, Rodarte-Lugo,
            25         Miranda, Figueroa, Lopez, Varoni, Tarango, Kramer, Maldonado,
            26         Steele, Tesillo, Ayala and Does 1 to 50 and Defendants Murzea,
            27         Anes, Brooks, Buehler and DOES 51 to 80
            28
LAW OFFICES OF
 POLLAK, VIDA                                              -21-
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             1         110. Answering paragraphs 127-133 of the Second Claim which the Court
             2 has dismissed, Defendants deny these allegations.
             3
             4                                       Third Claim
             5                                  Right of Association
             6         By Plaintiffs against Defendants Murzea, Anes, Brooks, Buehler
             7         and City employees DOES 51 to 80 and County Defendants
             8         Pearson, Cordero, Llanos, Hinson, Bergert, Caverley,
             9         Rodarte-Lugo, Miranda, Figueroa, Lopez, Varoni, Tarango,
            10         Kramer, Maldonado, Steele, Tesillo, Ayala and Does 1 to 50.
            11
            12         111. Answering paragraphs 134-142 of the Third Claim which the Court has
            13 dismissed, Defendants deny these allegations.
            14
            15                                      Fourth Claim
            16                                     Excessive Force
            17         By Plaintiff Mary Garcia as Successor-In-Interest to the Estate of
            18         Phillip Soto Garcia, Jr. Against Murzea, Anes, Brooks, Buehler
            19         and City employees DOES 51 to 80 and County Defendants
            20         Pearson, Cordero, Llanos, Hinson, Bergert, Caverley,
            21         Rodarte-Lugo, Miranda, Figueroa, Lopez, Varoni, Tarango,
            22         Kramer, Maldonado, Steele, Tesillo, Ayala and Does 1 to 50.
            23
            24         112. Answering paragraph 143, which incorporates by reference the
            25 allegations in the previous paragraphs of the Complaint, Defendants to the same
            26 extent incorporate by reference the answers provided herein to those paragraphs.
            27 ///
            28 ///
LAW OFFICES OF
 POLLAK, VIDA                                            -22-
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             1      113. Answering paragraph 144, Defendants deny the allegations.
             2
             3            a.    Answering paragraph 144 (a), Defendants deny the allegations.
             4
             5            b.    Answering paragraph 144 (b), Defendants deny the allegations.
             6
             7            c.    Answering paragraph 144 (c), Defendants deny the allegations.
             8
             9            d.    Answering paragraph 144 (d), Defendants deny the allegations.
            10
            11            e.    Answering paragraph 144 (e), Defendants deny the allegations.
            12
            13      114. Answering paragraph 145, Defendants deny the allegations.
            14
            15      115. Answering paragraph 146, Defendants deny the allegations.
            16
            17      116. Answering this paragraph, Defendants deny the allegations.
            18
            19      117. Answering paragraph 147, Defendants deny the allegations.
            20
            21      118. Answering paragraph 148, Defendants deny the allegations.
            22
            23      119. Answering paragraph 149, Defendants deny the allegations.
            24
            25      120. Answering paragraph 150, Defendants deny the allegations.
            26
            27      121. Answering paragraph 151, Defendants deny the allegations.
            28
LAW OFFICES OF
 POLLAK, VIDA                                        -23-
   & BARER
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             1         122. Answering paragraph 152, Defendants deny the allegations.
             2
             3         123. Answering paragraph 153, Defendants deny the allegations.
             4
             5         124. Answering paragraph 154, Defendants deny the allegations.
             6
             7         125. Answering paragraph 155, Defendants deny the allegations.
             8
             9                                       Fifth Claim
            10                         Failure to Intervene (42 U.S.C. §1983)
            11         By Plaintiff Mary Garcia as Successor-In-Interest to the Estate of
            12         Phillip Soto Garcia, Jr. Against Defendants Murzea, Anes, Brooks,
            13         Buehler and City employees DOES 51 to 80 and County
            14         Defendants Pearson, Cordero, Llanos, Hinson, Bergert, Caverley,
            15         Rodarte-Lugo, Miranda, Figueroa, Lopez, Varoni, Tarango,
            16         Kramer, Maldonado, Steele, Tesillo, Ayala and Does 1 to 50
            17
            18         126. Answering paragraph 157, which incorporates by reference the
            19 allegations in the previous paragraphs of the Complaint, Defendants to the same
            20 extent incorporate by reference the answers provided herein to those paragraphs.
            21
            22         127. Answering paragraph 158, Defendants deny the allegations.
            23
            24         128. Answering paragraph 159, Defendants deny the allegations.
            25
            26         129. Answering paragraph 160, Defendants deny the allegations.
            27
            28         130. Answering paragraph 161, Defendants deny the allegations.
LAW OFFICES OF
 POLLAK, VIDA                                            -24-
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             1         131. Answering paragraph 162, Defendants deny the allegations.
             2
             3                                        Sixth Claim
             4                               Violation of 42 U.S.C. §1983
             5                                 Failure to Properly Train
             6         By Plaintiff Mary Garcia as Successor-Interest to the Estate of
             7         Phillip Soto Garcia, Jr., against County of Riverside, Defendants
             8         Sniff, Di Yorio, Ibarra, Gutierrez, Kondrit, Magana, Ayala and
             9         DOES 1 to 50
            10
            11         132. Answering paragraphs 163-172 of the Sixth Claim, Defendants deny
            12 the allegations, which the Court has dismissed as to the City of Cathedral City, in
            13 accordance with the parties’ stipulation, and which the Court has dismissed as to
            14 the County of Riverside.
            15
            16                                       Seventh Claim
            17                               Violation of 42 U.S.C. §1983
            18                             Failure to Supervise & Discipline
            19                By Plaintiff Mary Garcia as Successor-In-Interest to the
            20          Estate of Phillip Soto Garcia, Jr. against County of Riverside, Sniff,
            21          DiYorio, Ibarra,Gutierrez, Kondrit, Magana, Ayala and Does 1 to 50
            22
            23         133. Answering paragraphs 173-182 of the Sixth Claim, defendants deny
            24 the allegations, which the Court has dismissed as to the City of Cathedral City, in
            25 accordance with the parties’ stipulation, and which the Court has dismissed as to
            26 the County of Riverside.
            27
            28
LAW OFFICES OF
 POLLAK, VIDA                                             -25-
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             1                                         Eighth Claim
             2                                Violation of 42 U.S.C. §1983
             3                                 Monell Municipal Liability
             4              By Plaintiffs against County of Riverside and Cathedral City
             5
             6         134. Answering paragraphs 183-196 pf the Eighth Claim, Defendants deny
             7 the allegations, which the Court has dismissed as to the City of Cathedral City, in
             8 accordance with the parties’ stipulation. As to the allegations as to the County of
             9 Riverside, Defendants allege that they are without knowledge or information
            10 sufficient to form a belief as to the truth of the allegations these paragraphs, and
            11 therefore deny those allegations.
            12
            13                                         Ninth Claim
            14                                Violation of 42 U.S.C. §1983
            15                   Failure to Protect & Cruel and Unusual Punishment
            16                                   Fourteenth Amendment
            17         By Plaintiff Mary Garcia as Successor-In-Interest to the Estate of
            18         Phillip Soto Garcia, Jr., against County Defendants Pearson,
            19         Cordero, Llanos, Hinson, Bergert, Caverley, Rodarte-Lugo,
            20         Miranda, Figueroa, Lopez, Varoni, Tarango, Kramer, Maldonado,
            21         Steele, Tesillo, Ayala and Does 1 to 50
            22
            23         135. Answering paragraphs 197-205 of the Ninth Claim, Defendants allege
            24 that they are without knowledge or information sufficient to form a belief as to the
            25 truth of these allegations, which are directed to Defendants other than the
            26 Answering Defendants, and therefore deny those allegations.
            27 ///
            28 ///
LAW OFFICES OF
 POLLAK, VIDA                                               -26-
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             1                                      Tenth Claim
             2                     Violation of Americans With Disabilities Act
             3                   By Plaintiffs against Defendants County and City
             4
             5        137. Answering paragraph 206, which incorporates by reference the
             6 allegations in the previous paragraphs of the Complaint, Defendants to the same
             7 extent incorporate by reference the answers provided herein to those paragraphs.
             8
             9        138. Answering paragraph 207, as to the City and City employee Defendants,
            10 Defendants deny the allegations.
            11
            12        139. Answering paragraph 208, as to the City and City employee
            13 Defendants, Defendants deny the allegations.
            14
            15        140. Answering paragraph 209, as to the City and City employee
            16 Defendants, Defendants deny the allegations.
            17
            18        141. Answering paragraph 210, as to the City and City employee
            19 Defendants, Defendants deny the allegations.
            20
            21        142. Answering paragraph 211, as to the City and City employee
            22 defendants, Defendants deny the allegations.
            23
            24        143. Answering paragraph 212, as to the City and City employee
            25 Defendants, Defendants deny the allegations.
            26
            27        144. Answering paragraph 213, as to the City and City employee
            28 Defendants, Defendants deny the allegations.
LAW OFFICES OF
 POLLAK, VIDA                                            -27-
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             1         145. Answering paragraph 214, as to the City and City employee
             2 Defendants, Defendants deny the allegations.
             3
             4         146. Answering paragraph 215, as to the City and City employee
             5 Defendants, Defendants deny the allegations.
             6
             7         147. Answering paragraph 216, as to the City and City employee
             8 Defendants, Defendants deny the allegations.
             9
            10                                      Eleventh Claim
            11                          Wrongful Death – CCP 377.60, et seq.
            12         By Plaintiffs against County, Sniff, Di Yorio, Ibarra, Gutierrez,
            13         Kondrit, Magana, Ayala, City of Cathedral City, Murzea, Anes,
            14         Brooks, Buehler, City Employees DOES 51 to 80 and County
            15         Defendants Pearson, Cordero, Llanos, Hinson, Bergert, Caverley,
            16         Rodarte-Lugo, Miranda, Figueroa, Lopez, Varoni, Tarango,
            17         Kramer, Maldonado, Steele, Tesillo, and Does 1 to 50.
            18
            19         148. Answering paragraphs 217-222 of the Eleventh Claim, which the Court
            20 dismissed at the August 13, 2018 scheduling conference as it declined to accept
            21 supplemental jurisdiction over this state court claim, Defendants deny the
            22 allegations.
            23 ///
            24 ///
            25 ///
            26 ///
            27 ///
            28 ///
LAW OFFICES OF
 POLLAK, VIDA                                             -28-
   & BARER
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             1                                      Twelfth Claim
             2                             (Violation of Civil Code § 52.1)
             3         By Plaintiff Mary Garcia as Successor-In-Interest to the Estate of
             4         Phillip Soto Garcia, Jr. against Defendant County, City, Murzea,
             5         Anes, Brooks, Buehler and City employees DOES 51 to 80 and
             6         County Defendants Pearson, Cordero, Llanos, Hinson, Bergert,
             7         Caverley, Rodarte-Lugo, Miranda, Figueroa, Lopez, Varoni,
             8         Tarango, Kramer, Maldonado, Steele, Tesillo, Ayala and Does
             9         1 to 50.
            10
            11         149. Answering paragraphs 223-227 of the Eleventh Claim, which the Court
            12 dismissed at the August 13, 2018 scheduling conference as it declined to accept
            13 supplemental jurisdiction over this state court claim, Defendants deny the
            14 allegations.
            15
            16                                     Thirteenth Claim
            17                                   State Law Negligence
            18         By Plaintiffs against Defendants County, Sniff, Di Yorio, Ibarra,
            19         Gutierrez, Kondrit, Magana, Ayala, City of Cathedral City,
            20         Murzea, Anes, Brooks, Buehler and County Defendants Pearson,
            21         Cordero, Llanos, Hinson, Bergert, Caverley, Rodarte-Lugo,
            22         Miranda, Figueroa, Lopez, Varoni, Tarango, Kramer, Maldonado,
            23         Steele, Tesillo, and Does 1 to 50 and City employees DOES 51 to 80
            24
            25         150. Answering paragraphs 228-233 of the Eleventh Claim, which the Court
            26 dismissed at the August 13, 2018 scheduling conference as it declined to accept
            27 supplemental jurisdiction over this state court claim, Defendants deny the
            28 allegations.
LAW OFFICES OF
 POLLAK, VIDA                                             -29-
   & BARER
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             1                                    Fourteenth Claim
             2                                    Assault & Battery
             3         By Plaintiffs Against Defendants Murzea, Anes, Brooks, Buehler
             4         and City Employees DOES 51 to 80 and County Defendants
             5         Pearson, Cordero, Llanos, Hinson, Bergert, Caverley, Rodarte-
             6         Lugo, Miranda, Figueroa, Lopez, Varoni, Tarango, Kramer,
             7         Maldonado, Steele, Tesillo, Ayala and Does 1 to 50, and City
             8         employees DOES 51 to 80
             9
            10         151. Answering paragraphs 234-237 of the Eleventh Claim, which the Court
            11 dismissed at the August 13, 2018 scheduling conference as it declined to accept
            12 supplemental jurisdiction over this state court claim, Defendants deny the
            13 allegations.
            14
            15                                     Fifteenth Claim
            16                              42 USC § 1983 - False Arrest
            17         By Plaintiff Mary Garcia as Successor-In-Interest to Estate of
            18         Phillip Soto Garcia, Jr., against Defendants Murzea, Anes, Brooks,
            19         Buehler and City employees DOES 51 to 80
            20
            21         152. Answering paragraphs 238-248 of the Fifteenth claim, which the Court
            22 has dismissed, Defendants deny the allegations.
            23
            24                                         PRAYER
            25
            26         153. Defendants deny that plaintiffs are entitled to any damages. Also, the
            27 prayer for punitive damages has been stricken from the First Amended Complaint.
            28
LAW OFFICES OF
 POLLAK, VIDA                                             -30-
   & BARER
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             1                                 AFFIRMATIVE DEFENSES
             2
             3         154. As separate and distinct affirmative defenses, Defendants the City of
             4 Cathedral City and its employees Officer Cladiu Murzea, Officer Daniel Anes,
             5 Officer Joseph Brooks and Officer Matthew Buehler each allege:
             6
             7                                  First Affirmative Defense
             8                                     (Failure to State Facts)
             9
            10          155. The complaint and each separate allegation contained therein fail to
            11 state facts sufficient to support the requested relief.
            12
            13                                 Second Affirmative Defense
            14                                (Qualified Immunity - Federal)
            15
            16         156. Defendants are protected from liability under the doctrine of qualified
            17 immunity because the alleged conduct of Defendant’s employees did not violate
            18 clearly established statutory or constitutional rights of which a reasonable person
            19 would have known.
            20
            21                                  Third Affirmative Defense
            22                                    (Statute of Limitations)
            23
            24         157. This action is barred by the applicable statute of limitations.
            25 ///
            26 ///
            27 ///
            28 ///
LAW OFFICES OF
 POLLAK, VIDA                                               -31-
   & BARER
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             1                                Fourth Affirmative Defense
             2            (Contributory Wrongdoing by the Decedent, Phillip Soto Garcia, Jr.)
             3
             4         158. Defendants allege that the decedent, Phillip Soto Garcia, Jr., failed to
             5 use ordinary care, caution, and prudence, and engaged in intentional wrongdoing, in
             6 and about the matters alleged in the operative complaint and in each cause of action
             7 therein. The answering Defendants further allege that the damages alleged were
             8 directly and proximately caused and contributed to by the by the wrongdoing of the
             9 decedent, Phillip Soto Garcia, Jr., and the extent of damages sustained, if any,
            10 should be reduced in proportion to the amount of that wrongdoing.
            11
            12                                 Fifth Affirmative Defense
            13                        (Contributory Wrongdoing by Other Persons)
            14
            15         159. Defendants allege that the damages complained of by Plaintiffs, if any,
            16 where either wholly or in part directly and proximately caused and contributed to by
            17 the negligence or other culpable conduct of other persons or entities other than
            18 these answering Defendants. The damages alleged, if any, were directly and
            19 proximately caused and contributed to by the wrongdoing of other persons, and the
            20 extent of damages sustained, if any, should be reduced in proportion to the amount
            21 of that wrongdoing
            22
            23                                 Sixth Affirmative Defense
            24                                       (Self-Defense)
            25
            26         160. The force used against the decedent, Phillip Soto Garcia, Jr., if any,
            27 was caused and necessitated by the actions of the decedent, Phillip Soto Garcia, Jr.,
            28 and was reasonable and necessary for self-defense.
LAW OFFICES OF
 POLLAK, VIDA                                             -32-
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             1                                Seventh Affirmative Defense
             2                                     (Defense of Others)
             3
             4         161. The force used against the decedent, Phillip Soto Garcia, Jr., if any,
             5 was caused and necessitated by the actions of the decedent, Phillip Soto Garcia, Jr.,
             6 and was reasonable and necessary for the defense of others.
             7
             8                                 Eighth Affirmative Defense
             9                                (Officers Acted in Good Faith)
            10
            11         162. Defendant alleges that any City of Cathedral City employee referred to
            12 in the Complaint, at all times herein relevant, acted in good faith, without malice,
            13 and within the scope of their duties as police officers.
            14
            15                                 Ninth Affirmative Defense
            16              (Officers Acted In Regularly Assigned Duties as Police Officers)
            17
            18         163. These answering Defendants alleges that the Officer Defendants are
            19 acting police officers of the City of Cathedral City and peace officers of the State of
            20 California, and that at all times herein mentioned, these employees were engaged in
            21 the performance of their regularly assigned duties as police officers.
            22
            23                                 Tenth Affirmative Defense
            24                             (Officers Actions Were Reasonable)
            25
            26         164. These answering Defendants allege that the Officer Defendants’
            27 actions at all times alleged in the complaint were reasonable, proper, and legal.
            28
LAW OFFICES OF
 POLLAK, VIDA                                              -33-
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             1                                Eleventh Affirmative Defense
             2                    (Public Employees Not Liable for Law Enforcement)
             3
             4         165. The Officer Defendants, as public employees, are not liable for their
             5 acts or omissions, exercising due care in the enforcement of any law.
             6
             7                                 Twelfth Affirmative Defense
             8           (Public Employees Not Liable for Acts or Omissions of Other Persons)
             9
            10         166. The Officer Defendants, as public employees, are not liable for any
            11 injury caused by the act or omission of another person.
            12
            13                               Thirteenth Affirmative Defense
            14                           (Public Employees - Discretionary Acts)
            15
            16         167. The Officer Defendants, as public employees, are not liable for an
            17 injury resulting from their acts or omissions where the acts or omissions were the
            18 results of the exercise of the discretion vested in them.
            19
            20                               Fourteenth Affirmative Defense
            21                         (Public Employees - Official Acts Immunity)
            22
            23         168. The Officer Defendants, as public employees, are immune from
            24 liability for acts undertaken in an official capacity, in good faith, upon a reasonable
            25 mistake and in accordance with clearly established law.
            26 ///
            27 ///
            28 ///
LAW OFFICES OF
 POLLAK, VIDA                                               -34-
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             1                               Fifteenth Affirmative Defense
             2                         (No Liability to Persons Escaping Arrest)
             3
             4         169. Neither a public entity nor a public employee is liable for any injury
             5 caused by a person attempting to escape or resist arrest.
             6
             7                               Sixteenth Affirmative Defense
             8                                (Reasonable Use of Force)
             9
            10         170. The force, if any, used upon Decedent Phillip Soto Garcia, Jr. was
            11 reasonable and necessary under the circumstances, and the injuries or damages
            12 allegedly suffered by Plaintiffs were due to and caused by reason of Decedent’s
            13 unlawful acts and conduct.
            14
            15                              Seventeenth Affirmative Defense
            16                                (Reasonable Use of Force)
            17
            18         171. If any force was used upon Decedent, that force was caused and
            19 necessitated by the unlawful acts of the Decedent and was necessary and
            20 reasonable.
            21
            22                              Eighteenth Affirmative Defense
            23                                    (Reasonable Cause)
            24
            25         172. The City of Cathedral City and its employees had reasonable cause to
            26 believe that a public offense was being committed in the presence of its officers and
            27 that Decedent had committed that and other public offenses.
            28
LAW OFFICES OF
 POLLAK, VIDA                                             -35-
   & BARER
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             1                              Nineteenth Affirmative Defense
             2                                      (Mistaken Belief)
             3
             4         173. Defendants are not liable for a reasonable, but mistaken belief.
             5
             6                               Twentieth Affirmative Defense
             7                                     (Lack of Standing)
             8
             9         174. Plaintiffs have no standing to bring this action. They have failed to
            10 comply with the provisions of California Civil Code § 377 et seq.
            11
            12                             Twenty-First Affirmative Defense
            13                                 (Medical Care Summoned)
            14
            15         175. Medical care was promptly summoned and provided to Decedent.
            16
            17                            Twenty-Second Affirmative Defense
            18                                   (Additional Immunities)
            19
            20         176. Defendants allege that they are entitled to all other applicable
            21 immunities provided by state and federal law not specifically set forth herein and
            22 specifically reserve the right to add to or amend this Answer prior to the date of the
            23 Pre-Trial Conference in order to conform the pleadings to established evidence.
            24 ///
            25 ///
            26 ///
            27 ///
            28 ///
LAW OFFICES OF
 POLLAK, VIDA                                              -36-
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             1                             Twenty-Third Affirmative Defense
             2                     (Reasonableness In Light of Exigent Circumstances)
             3                                  (28 C.F.R. § 35.130(b)(7))
             4
             5         177.    Defendants allege that at the time the City’s officers used reasonable
             6 force towards decedent, and during the events preceding the use of force, the
             7 decedent’s actions including decedent’s reported bizarre behavior, his having
             8 injured his 87 year-old housemate, and his actions toward the City’s officers,
             9 created exigent circumstances. Under those circumstances, it would be
            10 unreasonable to require them to make accommodations or modifications in their
            11 policies, practices, procedures, or actions for any real or apparent disability the
            12 decedent had. To require the officers to factor into their decisions whether their
            13 actions would comply with the ADA or the Rehabilitation Act prior to securing the
            14 safety of themselves, other officers, and nearby civilians, would pose an
            15 unnecessary risk to innocents.
            16
            17                             Twenty-Fourth Affirmative Defense
            18                      (In Light of Exigent Circumstances, Decedent Not
            19                             Qualified Individual With Disability)
            20                                    (42 U.S.C. § 12131(2))
            21
            22         178. Defendants allege that at the time the City’s officers used reasonable
            23 force towards decedent, and during the events preceding the use of force, including
            24 decedent’s reported bizarre behavior, his having injured his 87 year-old housemate,
            25 and his actions toward the City’s officers, created exigent circumstances. Under
            26 those circumstances it would be unreasonable to require them to make
            27 accommodations or modifications in their policies, practices, procedures, or actions
            28 for any real or apparent disability the decedent had. The decedent was therefore not
LAW OFFICES OF
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             1 a qualified person with a disability under Title II of the ADA or under the
             2 Rehabilitation Act.
             3
             4                              Twenty-Fifth Affirmative Defense
             5                 (Decedent Was Direct Threat to Health or Safety of Others)
             6                               (28 C.F.R. §§ 35.104, 35.139(a))
             7
             8         179. Defendants allege that at the time the City’s officers used reasonable
             9 force towards decedent, and during the events preceding the use of force, the
            10 decedent’s actions including his reported bizarre behavior, his having injured his 87
            11 year-old housemate, and his actions toward the City’s officers, created exigent
            12 circumstances. Under those circumstances, decedent posed a direct threat to the
            13 health or safety of others. That threat could not be eliminated by a modification of
            14 policies, practices, or procedures, or by providing auxiliary aides or services.
            15 Because he posed a direct threat to public health or safety, the decedent was not a
            16 qualified person with a disability under Title II of the ADA or under the
            17 Rehabilitation Act; the City was not required to permit him to participate in or
            18 benefit from the services, programs, or activities of the City; and the City did not
            19 infringe his rights by using force upon him or by taking the other actions they took
            20 at the scene.
            21
            22                             Twenty-Sixth Affirmative Defense
            23                        (Fundamental Alteration of Nature of Service,
            24                                    Program, or Activity)
            25                              (28 C.F.R. §§ 41.53, 35.130(b)(7)
            26
            27         180. Defendants allege that in light of the decedent’s actions before and
            28 during the City’s officers’ use of reasonable force, including decedent’s reported
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             1 bizarre behavior, his having injured his 87 year-old housemate, and his actions
             2 toward the City’s officers, the police could not modify their services, programs, or
             3 activities of enforcing the law and protecting themselves and the public by use of
             4 force, and the other tactics and actions taken at the scene, without fundamentally
             5 altering the nature of those services, programs, or activities.
             6
             7                            Twenty-Seventh Affirmative Defense
             8                              (Legitimate Safety Requirements)
             9                                   (28 C.F.R. § 35.130(h))
            10
            11         181. Defendants allege that in light of the actual risk posed to officer and
            12 public safety by the decedent’s actions before and during the City’s officers’ use of
            13 reasonable force, including decedent’s reported bizarre behavior, his having injured
            14 his 87 year-old housemate, and his actions toward the City’s officers, there was a
            15 legitimate safety requirement for the City’s officers to use force toward decedent,
            16 and take the other actions they took, to protect themselves and the public.
            17
            18                             Twenty-Eighth Affirmative Defense
            19                              (Decedent’s Use of Illegal Drugs)
            20                             (28 C.F.R. §§ 35.104,35.131(a)(1))
            21
            22         182. Defendants allege that at the time the City’s officers took the actions
            23 toward decedent alleged in plaintiffs’ complaint, decedent was either under the
            24 influence of illegal drugs that, in whole or in part, caused the decedent’s conduct
            25 which led to the officers using reasonable force toward him and taking the other
            26 actions alleged in the complaint; or the officers reasonably believed he had taken
            27 drugs recently enough that they caused or contributed to his actions. Neither Title II
            28 of the ADA nor the Rehabilitation Act prohibited the City or its officers from taking
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             1 the actions alleged based on decedent’s then-current use of illegal drugs.
             2
             3                              Twenty-Ninth Affirmative Defense
             4                                  (Decedent’s Illegal Conduct)
             5
             6           183. Defendants allege that the City’s officers took the actions alleged in
             7 the complaint because of the decedent’s actual or apparent illegal conduct at the
             8 scene, including breaking a neighbor’s window, his bizarre behavior, his having
             9 injured his 87-year old housemate, and his actions towards City officers at the
            10 scene. The officers did not mistake legal conduct caused by a disability for illegal
            11 conduct. In light of the decedent’s actions, no reasonable accommodation or
            12 modification of the City’s services, programs, or policies would have changed the
            13 outcome or prevented decedent’s death.
            14
            15                                 Thirtieth Affirmative Defense
            16                                       (Undue Hardship)
            17                               (28 C.F.R. §§ 41.53, 35.130(b)(7))
            18
            19           184. Defendants allege that in light of the decedent’s actions before and
            20 during the City’s officers’ use of reasonable force, including the decedent’s
            21 neighbor’s report of bizarre behavior by decedent including his breaking a window
            22 to their home; the decedent presenting at the door of his home to officers with a
            23 menacing look on his face, blood on his clothing, shouting vulgarities and speaking
            24 incoherently; and the decedent’s 87-year old neighbor being injured in his bed in
            25 decedent’s home, any accommodation of decedent’s physical or mental limitations
            26 would impose an undue hardship on the operation of the City’s officers’ program,
            27 services, and activities in enforcing the law and protecting themselves and the
            28 public.
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             1           WHEREFORE, Defendants pray for judgment as follows:
             2           1.       That Plaintiffs take nothing by this action;
             3           2.       That the action be dismissed;
             4           3.       That the Defendants be awarded costs of suit;
             5           4.       That the Defendants be awarded attorneys’ fees pursuant to California
             6 Code of Civil Procedure §§ 1021.7 and 1038 and 42 U.S.C. § 1988; and
             7           5.       That the Defendants be awarded other and further relief as the Court
             8 may deem just and proper.
             9
            10 DATED: September 18, 2018                            POLLAK, VIDA & BARER
                                                                    DANIEL P. BARER
            11                                                      ANNA L. BIRENBAUM
            12
                                                            By:     /s/ Daniel P. Barer
            13                                                      Daniel P. Barer
                                                                    Attorneys for Defendants City of Cathedral
            14                                                      City and its employees Officer Cladiu
                                                                    Murzea, Officer Daniel Anes,
            15                                                      Officer Joseph Brooks and Officer Matthew
                                                                    Buehler
            16
            17                                            Demand for Jury Trial
            18           The City of Cathedral City and its employees Officer Cladiu Murzea, Officer
            19 Daniel Anes, Officer Joseph Brooks and Officer Matthew Buehler demand a jury
            20 trial in this case.
            21
            22 DATED: September 18, 2018                            POLLAK, VIDA & BARER
                                                                    DANIEL P. BARER
            23                                                      ANNA L. BIRENBAUM
            24
                                                            By:     /s/ Daniel P. Barer
            25                                                      Daniel P. Barer
                                                                    Attorneys for Defendants City of Cathedral
            26                                                      City and its employees Officer Cladiu
                                                                    Murzea, Officer Daniel Anes,
            27                                                      Officer Joseph Brooks and Officer Matthew
                                                                    Buehler
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             1                                 PROOF OF SERVICE                                  7580.040
                                  STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
             2
                      I am employed in the County of Los Angeles, State of California. I am over
             3 the age of 18 and not a party to the within action; my business address is 11150
               West Olympic Boulevard, Suite 900, Los Angeles, California 90064-1830.
             4
                      On September 18, 2018, I served the foregoing document described as
             5 ANSWER OF DEFENDANTS CITY OF CATHEDRAL CITY AND ITS
               EMPLOYEES OFFICER CLADIU MURZEA, OFFICER DANIEL ANES,
             6 OFFICER JOSEPH BROOKS AND OFFICER MATTHEW BUEHLER TO
               PLAINTIFFS’ FIRST AMENDED COMPLAINT on the interested parties in
             7 this action as follows:
             8                                    SEE ATTACHED SERVICE LIST
             9
               [X] (BY EMAIL) I hereby certify that I electronically filed the foregoing with
            10 the Court by using their electronic system on September 18, 2018 and that all
               participants in the case are registered users and that service will be accomplished by
            11 the Court's electronic service system.
            12 [X] (Federal) I declare that I am employed in the office of a member of the bar of
               this court at whose direction the service was made.
            13
                      Executed on September 18, 2018, at Los Angeles, California.
            14
            15                                                      /s/ Elia Leyba
                                                                    Elia Leyba
            16
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             1                                    SERVICE LIST
             2             Mary H. Garcia, etc, et al. v. County of Riverside, etc., et al.
                            United States District Court, Central District of California
             3                        Case No. 5:18-cv-00839 SJO (ASx)
             4   Robert A. Trujillo                                Counsel for Plaintiff
             5   Melody A. Trujillo                                Mary H. Garcia, individually
                 Trujillo & Trujillo, APLC                         and as successor-in-interest to
             6   41593 Winchester Road, Suite 201                  Estate of Phillip Soto Garcia, Jr.
                 Temecula, CA 92590                                (Deceased); Angelo Garcia;
             7   Tel: (951) 296-9529                               Phillip J. Garcia
                 Fax: (951) 296-9533
             8   rt@trujillo-law.us
                 trulaw@trujillo-law.us
             9   Suzanne C. Skolnick                               Co-Counsel for Plaintiff
            10   Skolnick Law Group                                Mary H. Garcia, individually
                 2888 Loker Avenue E, Suite 110-F                  and as successor-in-interest to
            11   Carlsbad, CA 92010                                Estate of Phillip Soto Garcia, Jr.
                 Tel: (760) 405-4397                               (Deceased); Angelo Garcia;
            12   Fax: (760) 585-4676                               Phillip J. Garcia
                 suzanne@skolnicklawgroup.com
            13   Lewis Khashan                                     Co-Counsel for Plaintiff
            14   Khashan Law Firm APC                              Mary H. Garcia, individually
                 38975 Sky Canyon Drive, Suite 201                 and as successor-in-interest to
            15   Murrieta, CA 92563                                Estate of Phillip Soto Garcia, Jr.
                 Tel: (951) 775-7279                               (Deceased); Angelo Garcia;
            16   Fax: (909) 658-8981                               Phillip J. Garcia
                 Lewis@khashanlaw.com
            17
                 Arthur Cunningham                                 Counsel for Defendants
            18   James C. Packer                                   County of Riverside and its
                 Lewis Brisbois Bisgaard & Smith LLP               employees, Stanley Sniff;
            19   75- East Hospitality Lane, Suite 600              William Di Yorio; Julio Ibarra;
                 San Bernardino, CA 92408                          Jerry Gutierrez; David Kondrit;
            20   Tel: (909) 387-1130                               and Sergeant Magana, et al.
                 Fax: (909) 387-1138
            21   Arthur.Cunningham@lewisbrisbois.com
                 james.packer@lewisbrisbois.com
            22
                 Christopher D. Lockwood                           Co-Counsel for Defendants
            23   Arias & Lockwood                                  County of Riverside and its
                 1881 S. Business Center Drive, Suite 9A           employees, Stanley Sniff;
            24   San Bernardino, CA 92408                          William Di Yorio; Julio Ibarra;
                 Tel: (909) 890-0125                               Jerry Gutierrez; David Kondrit;
            25   Fax: (909) 890–0185                               and Sergeant Magana, et al.
                 Christopher.Lockwood@AriasLockwood.com
            26
            27
            28
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   & BARER
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             1   Peter J. Ferguson                          Co-Counsel for Defendants
             2   Kyle R. Bevan                              City of Cathedral City and its
                 Ferguson Praet & Sherman APC               employees Officer Cladiu
             3   1631 East 18th Street                      Murzea, Officer Daniel Anes,
                 Santa Ana, CA 92705                        Officer Joseph Brooks, and
             4   Tel: (714) 953-5300                        Officer Matthew Buehler
                 Fax: (714) 953-1143
             5   peterferg@aol.com
                 kbevan@law4cops.com
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 POLLAK, VIDA
   & BARER
